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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                   (Fort Pierce Division)

                           Case Number:

     CURTIS BROWN,

           Plaintiff,

     vs.

     BRIDGESTONE RETAIL
     OPERATIONS, LLC, a Delaware
     limited liability company, d/b/a
     TIRES PLUS; DAVID PERRY,
     individually, and DAVID TUMA,
     individually,

           Defendants.
                                            /

                         Count I: Claim Under 42 U.S.C. § 1981 for
                        Tangible Job Detriment Race Discrimination

           Plaintiff, Curtis Brown, sues Defendant, Bridgestone Retail Operations,

     LLC, a Delaware limited liability company, d/b/a Tires Plus; David Perry,

     individually, and David Tuma, individually, and alleges:

                                Introduction and Summary

           1.     This is an action brought by Curtis Brown, an African-American

     automobile mechanic, against Tires Plus, a Central Florida district manager,

     and the manager of its Stuart store because the management and

     employees of the chain’s Port St. Lucie and Stuart stores harassed him




aa
pa   The Amlong Firm ! 500 Northeast Fourth Street ! Fort Lauderdale, FL 33301 ! 954.462.1983
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  during the time that he worked at those stores based on his being, One,

  black and, Two, married to a white woman. Tires Plus, acting through

  Messrs. Perry and Tuma, eventually fired Mr. Brown after — and because —

  he continued to complain about the harassment and assorted tangible job

  detriments that were inflicted on him. He sues pursuant to 42 U.S.C. § 1981

  for tangible-job-benefit discrimination, hostil-environment discrimination and

  retaliation, seeking injunctive relief, damages, including punitive damages,

  and his costs and litigation expenses.

                             Jurisdiction and Venue

        2.      This case arises under 42 U.S.C. 1981, the Reconstruction-era

  statute outlawing racial discrimination in the making and enforcement of

  contracts. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and

  1343(a)(4).

        3.      The claim being sued upon arose in Martin and St. Lucie

  Counties, Florida, which makes the Fort Pierce Division of the Southern

  District of Florida the appropriate venue.

                                      Parties

        4.      Plaintiff Curtis Brown is an automobile mechanic who during the

  time that he worked at Tires Plus held a certification in his craft by the

  Institute for Automotive Service Excellence (“ASE”). He is also an African-

  American male who is married to a white woman and who is the father of a

  mixed-race child.




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        5.     Defendant, Bridgestone Retail Operations, LLC (“Tires Plus”), is a

  Delaware limited liability company, the managers of which are citizens of

  Tennessee. The management of Tires Plus was at all times material aware,

  or should have been aware, of the behavior of its management employees,

  David Perry and David Tuma, towards Mr. Brown, and either ratified that

  behavior or was recklessly indifferent to it. Alternatively, it at all times

  material delegated to Messrs. Perry and Tuma the authority to make, or

  threaten to make, decisions affecting the employment status of Mr. Brown

  concerning Mr. Brown’s right to make and enforce contracts.

        6.     David Perry was at all times material the white Tires Plus district

  manager whose area included stores in both St. Lucie and Martin Counties.

  Mr. Perry at all times material was a supervisor who exercised the authority

  actually delegated to him by his employer by making or threatening to make

  decisions affecting the employment status of Mr. Brown, and who used the

  authority vested in him by Tires Plus to interfere, based on Mr. Brown’s race,

  with Mr. Brown’s right to make and enforce contracts.

        7.     David Tuma was at all times material the white Tires Plus store

  manager in Stuart. Mr. Tuma at all times material was a supervisor who

  exercised the authority actually delegated to him by his employer by making

  or threatening to make decisions affecting the employment status of Mr.

  Brown, and who used the authority vested in him by Tires Plus to interfere,

  based on Mr. Brown’s race, with Mr. Brown’s right to make and enforce

  contracts.

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                               General Allegations

        8.    Tires Plus, a chain of automotive repair shops and tire stores,

  employed Mr. Brown as a automotive technician at its Port St. Lucie and

  Stuart stores from 2014 until May 26, 2016 when he was fired from the

  Stuart store immediately after his last in a years-long string of complaints

  about race discrimination.

        9.    Throughout the 2014-2016 period, Mr. Brown suffered

  continuing incidents of racial discrimination, involving both tangible job

  detriments and serious or pervasive incidents of racial harassment,

  continuing up to his last day on the job.

        10.   Tires Plus’s anti-discrimination policy was haphazard and

  recklessly indifferent to whether its black employee’s federal rights against

  employment discrimination were being violated:

              a.    Tires Plus demonstrated an awareness that racial

  discrimination was illegal by publishing a written policy against employment

  discrimination, a copy of which Mr. Brown recalls signing when he was hired,

  and again when he was rehired, and announcing an “800" number for

  employees to call.

              b.    Tires Plus, however, provided Mr. Brown no training about

  what to do in the event he encountered discrimination.




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              c.    Additionally, the prescribed reporting mechanism was a

  military-like chain of command, the effect of which was to keep complaints

  of employment discrimination bottled-up at the corporation’s lowest levels:

  a mechanic was supposed to report any incidents of discrimination to his

  service manager, who would bring the matter to the attention of the store

  manager, who would bring it to the attention, if necessary, of the district

  manager.

              d.    Mr. Brown’s understanding of the 800 number was that if

  an employee called it, the problem would be referred back to local

  management.

              e.    The result of this ineffective system was that a pattern of

  racial discrimination was permitted to flourish throughout Mr. Perry’s district.

        11.   Mr. Brown had previously worked at two stores in Port St. Lucie

  from 1998 to 2000 as a tire changer. He initially worked at the store in

  western Port St. Lucie. When the white tire changer, Mark Smedberg, stole

  four tires in 1999, Mr. Perry sent loss-prevention investigators to Mr.

  Brown’s house to check the tires on the car in Mr. Brown’s driveway. Mr.

  Smedberg was never investigated, but rather was promoted to manager.

        12.   Mr. Brown was transferred to a newly acquired store in late 1999

  or early 2000. The reason given to Mr. Brown for the transfer was that the

  clientele in the store in east Port St. Lucie was more heavily black and would

  be easier for Mr. Brown to work with than the primarily white clientele in




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  western Port St. Lucie. When he was transferred, his seniority, hourly wage

  and commission rate reverted to that of a new employee.

        13.   Mr. Perry, the district manager, had told Mr. Brown in November

  1998 — when Mr. Brown was seeking to become an inside tire salesman, in

  which role he could have put to use the retail experience that he had gained

  working as an assistant manager at Winn-Dixie — “You will never succeed in

  this company as long as I am here”; two weeks later, Mr. Brown put in his

  two-weeks notice.

        14.   Mr. Brown returned in 2014 as an ASE-certified automotive

  repair technician, having been hired by the store manager in eastern Port St.

  Lucie, without the knowledge of Mr. Perry. Mr. Perry did not recognize Mr.

  Brown until Mr. Brown asked during an orientation session if he remembered

  him, reminded Mr. Perry of his 1998 remark as he held on to Mr. Perry’s

  hand during an elongated handshake, and told Mr. Perry how that remark

  had inspired Mr. Brown to work harder to succeed. Mr. Perry’s reaction was,

  “Well, good for you, welcome back, Curtis.”

        15.   The first overtly racially discriminatory incidents at the Port St.

  Lucie store occurred in late 2014:

              a.    Richard Bolz, a newly-hired white co-employee, upon first

  meeting Mr. Brown, asked if Mr. Brown wanted to hear a joke, and before

  Mr. Brown could cut him off, told Mr. Brown — within earshot of Greg Elder,

  the then store manager — that "down South" watermelons were referred to

  as "nigger pickles," continuing, “I don't know what it is with you black people

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  and watermelons; it’s just a fruit. And that's why we call them ‘nigger

  pickles’ cause y’all like them more than us.”

              b.    Mr. Elder laughed out loud — even though such language

  is supposed to be grounds for employee discipline.

              c.    When Mr. Brown walked over to Mr. Elder and asked, “Why

  can he just walk up and say that and you just laugh,” Mr. Elder responded,

  “What the hell do you expect? He was raised in the mountains. He's

  probably never seen a black person before.”

              d.    Mr. Bolz later that day locked his tool box as he was

  leaving for lunch, explaining when Mr. Brown asked him if he were going

  home for the day: "No, I'm locking my box because I was told to never trust

  a nigger. You seem like a cool black person but you’re still a nigger and my

  daddy told me to never trust y’all.”

              e.    When Mr. Bolz said it was “nothing personal,” reached out

  to Mr. Brown to shake hands, Mr. Brown held Bolz’s hand firmly and

  explained sternly that:

                    i.      He had a suspicion that Mr. Bolz, who was

  substantially larger than Mr. Brown, had been hired to provoke Mr. Brown

  into an at-work fight, so that Tires Plus could fire him;

                    ii.     Mr. Brown had no intention of getting into a fight

  during working hours, but

                    iii.    Mr. Brown would not tolerate such racial slurs and, if

  they continued, he would see Mr. Bolz “after hours.”

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                 f.   When Mr. Brown renewed his complaint following the

  second incident, Mr. Elder responded: "I got to get back to work. I have

  shit to do."

                 g.   Mr. Bolz not only ceased the racist behavior, but

  acknowledged to Mr. Brown that the racial taunting had been suggested to

  him by management.

        16.      Subsequent to the incident with Mr. Bolz, Ray Solomon, a black

  inside-salesman at the Stuart store — the only black person that Mr. Brown

  ever observed in a customer-facing, inside-sales role during either stint at

  Tires Plus — was transferred to the Port St. Lucie store as a temporary

  service manager:

                 a.   Mr. Solomon was given no training in management of the

  car-repair function of a Tires Plus store, for which his sales background had

  not prepared him;

                 b.   Mr. Solomon was given no authority to settle customer

  complaints, which led to a number of customers escalating their complaints

  to corporate headquarters, and

                 c.   Several months later, Mr. Perry called Mr. Solomon outside

  to where Mr. Perry’s pick-up was parked and, sitting on the opened tailgate

  of the truck, told Mr. Solomon that he was fired — as both Mr. Brown and a

  uniformed St. Lucie County sheriff’s deputy watched.




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        17.   The next incident occurred in 2015, when Steve Bazillo, a black

  man with whom Mr. Brown was slightly acquainted, brought in his Lincoln

  Town Car, complaining about a noise in the rear end:

              a.    Although Mr. Brown diagnosed what was wrong with the

  car, he told Mr. Elder that he did not want to work on any black customers’

  cars, because if there were any complaints about the quality of the work or

  any request for a refund, Mr. Brown would be accused of colluding with the

  black customer.

              b.    Mr. Elder nonetheless ordered Mr. Brown to do the work,

  which Mr. Brown did, with no problems, and Mr. Elder signed off on it.

              c.    A white mechanic, John Post, came by, observed the car

  on the lift and told the service manager, Brian Brown, that the car was

  leaking coolant. The service manager informed Mr. Elder, who assigned Mr.

  Post to repair the coolant leak.

              d.    Mr. Bazillo returned the following day, complaining of an

  oil leak, which had been caused by Mr. Post’s having cracked an oil seal

  when stopping what he had said was a coolant leak.

              e.    Mr. Elder wanted Bazillo to pay to repair the oil leak; Mr.

  Bazillo refused to pay and, instead, telephoned corporate headquarters,

  which reviewed the paperwork and determined that Mr. Post was at fault.

              f.    Mr. Bazillo was then sent to the Tires Plus store in Gatland,

  the manager of which telephoned Mr. Brown to accuse him of sending a

  black “buddy” in to cheat Tires Plus, even though Mr. Bazillo had not asked

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  for a refund and had offered to pay for the parts to fix the oil leak that Mr.

  Post had caused.

                g.   Mr. Brown went to complain to Mr. Elder, who responded

  by telling him, “Y’all always stick together when your getting something over

  on someone,” told Mr. Brown that he had already e-mailed the district

  manager, Mr. Perry, and instructed Mr. Brown to either “go back to work, or

  go home, and I don’t give a damn which one.”

                h.   When Mr. Brown reiterated that this was precisely why he

  had not wanted to work on Mr. Bazillo’s car, Mr. Elder told him, “Clock the

  hell out and go home,” which was short circuited by the serendipitous

  appearance of a customer asking for Mr. Brown to check out his car.

                i.   Mr. Perry visited the Port St. Lucie store a few days later,

  accused Mr. Brown of costing Tires Plus money and threatened to fire him —

  even though the oil leak had been documented as being the fault of Mr.

  Post.

          18.   In or about October or November 2015, a woman on a bicycle

  approached Mr. Brown at the store, asking if he were a mechanic and, if so,

  could she hire him to put a new set of brakes on a Ford F250 pick-up truck

  in which she and her boyfriend had driven to Port St. Lucie from Tampa:

                a.   Doing side work, which would take a customer away from

  Tires Plus, is a terminable offense;

                b.   Mr. Brown, who had never met the woman before, said

  that he did not do any work outside of Tires Plus, but

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               c.      She nonetheless continued to press him to agree to do the

  work and take the money — which he continued to refuse.

               d.      After she rode off, Mr. Brown was road-testing a car on

  which he had finished working, drove around the next corner from the store,

  and saw the woman putting her bike into Mr. Perry’s truck as Mr. Perry sat in

  the driver’s seat.

        19.    Mr. Brown in or about November or December 2015 told both

  Mr. Perry and Candace Ledecki, the manager of the Port St. Lucie store from

  February 2015 forward, that he wished to become a Tires Plus manager and

  wished to be transferred to an inside sales jobs at the Port St. Lucie store:

               a.      Ms. Ledecki said that she thought Mr. Brown would do well

  as an inside salesman and taught him how to write up a tire-sales ticket.

               b.      She also told him that she did not understand what Mr.

  Perry had against him.

        20.    Mr. Perry, who was in charge of scheduling ASE certification

  renewal tests, mis-scheduled Mr. Brown to take his renewal tests for brake

  work, as well as suspension and steering, causing it to lapse — while making

  sure to correctly schedule the renewal examination for Mr. Post, another ASE

  certified technician in Mr. Perry’s district.

        21.    Mr. Perry on or about January 5, 2016, transferred Mr. Brown

  from the Port St. Lucie store, which was relatively close to Mr. Brown’s home

  in Fort Pierce, to Stuart, which was a longer drive south into Martin County:




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              a.    Ms. Ledecki telephoned Mr. Brown about 6:45 p.m. on

  Monday, January 4, to alert him that to what Mr. Perry was planning to do —

  even though she said she wanted to keep Mr. Brown in the Port St. Lucie

  store.

              b.    Mr. Brown immediately telephoned Mr. Perry, who

  confirmed that he was transferring Mr. Brown to Stuart because:

                    i.    Mr. Brown had agreed when he was hired to work at

  any Tires Plus store within a 50-mile radius of his home, and

                    ii.   The Stuart store “need[ed] a strong mechanic” —

  even though the Stuart store already had a mechanic with similar credentials

  to those of Mr. Brown and was not as busy as the Port St. Lucie store.

              c.    When Mr. Brown said that the immediate transfer would be

  a problem because Mr. Brown’s truck was in the shop, Mr. Perry told him

  that a flatbed truck was scheduled to pick up Mr. Brown’s tool box in the

  morning and transfer it to Stuart, and asked Mr. Brown if he were

  abandoning his job by refusing to accept the transfer, to which Mr. Brown

  responded by saying that he was not abandoning his job.

              d.    When Mr. Brown asked why he was being required to go to

  the Stuart store when a white mechanic from the western Port St. Lucie

  store had been allowed to decline a transfer to Stuart, Mr. Perry responded,

  “Curtis, that’s got nothing to do with you.”

              e.    Mr. Brown, however, was not expected to accept the

  transfer:

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                    i.    When Mr. Brown showed up in a borrowed truck at

  the Port St. Lucie store on the morning of Tuesday, January 5, to gather his

  personal possessions, other than his tool box, Ms. Ledecki expressed

  surprise that he had shown up;

                    ii.   When he arrived at the Stuart store, none of the

  employees that had moved their tool boxes to make room for his, which is

  typically done in advance of a new mechanic’s anticipated arrival.

        22.    When Mr. Brown arrived at the Stuart store, he was the only

  black employee there, and the unwelcomeness was palpable:

               a.   While the white employees largely ignored him during the

  first week, other than to act as if his presence offended them, that all

  changed the first Saturday when Mr. Tuma, the store manager, called a

  store-wide meeting.

               b.   Mr. Brown sat at the back of the room, with his back

  against a window, flanked by Jose Bautista, a Mexican-American from

  Indiantown and the only other non-white employee at the store, and Michael

  (“Little Mike”) Marinaro.

               c.   Mr. Brown noticed that Mr. Marinaro was wearing a

  holstered firearm on his belt, and Charles Brown, another white employee,

  was standing with his hand in his right pocket as if he were holding

  something.

               d.   After Mr. Tuma finished discussing the store’s financial

  performance, he transitioned into discussing how there was a new employee

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  at the store, i.e., Mr. Brown, and that the other employees needed to work

  with Mr. Brown if he needed any help.

              e.    The request was met with verbal refusals to do so by

  everyone other than Mr. Bautista.

              f.    The assembled employees argued to Mr. Tuma that the

  store did not need another technician.

              g.    Michael Butler, a technician of the same rank as Mr. Brown

  — and the unofficial leader of the white employees — stood and announced:

  “I don’t have time for this bullshit and I’m leaving.” Mr. Tuma said that the

  meeting was not over, to which Mr. Butler said he did not care. Within two

  to three minutes, all the others walked out.

              h.    When Mr. Brown brought to Mr. Tuma’s attention that

  “Little Mike” was openly wearing a handgun on his hip, and that the white

  Mr. Brown had appeared to have one in his pocket, Mr. Tuma’s response

  was: “Aw, they’re just young kids. They don’t mean any harm.”

              i.    As Mr. Brown walked to his car in the parking lot, he

  noticed Messrs. Butler, Charles Brown and Marinaro talking to each other

  next to Mr. Butler’s truck.

              j.    Richard Cartwright, meanwhile, pulled in front of Mr.

  Brown in his Mini-Cooper and lowered the passenger-side window. A .380-

  caliber pistol lay on the passengers seat, and Mr. Cartwright told Mr. Brown

  that he needed to “be careful down here” because all of the white employees

  own guns.

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              k.     The white Mr. Brown approached the black Mr. Brown as

  the black Mr. Brown walked about Mr. Cartwright’s car, with the white Mr.

  Brown’s hand still in his pocket; looked the black Mr. Brown up and down

  and told him, “Your kind don’t last long down here.”

              l.     When the black Mr. Brown asked the white Mr. Brown what

  he meant, his response was to say, “What do you think it means,” and to

  turn and walk away.

              m.     The black Mr. Brown reported this to Mr. Tuma the next

  time he saw him.

              n.     Mr. Tuma’s response was that this was “just child’s play,”

  and that the other employees were “just trying to shake you up.”

        23.   The hostility continued to escalate:

              a.     Within the first month of his employment at the Stuart

  store, a co-worker who saw the wedding picture that Mr. Brown keeps

  mounted on the inside of his tool box, along with a note reminding him of his

  anniversary date, left him a note stating: “She’s white not you.”

              b.     Mr. Brown took the note to Mr. Tuma, who threw it in the

  trash, telling Mr. Brown that “[y]ou know, the guys in there are just young.”

              c.     The service manager, Brian Piotraschke, rather than

  praising Mr. Brown for his prompt and efficient work, told Mr. Brown to “slow

  down” because “some of the guys in there are complaining,” to which Mr.

  Brown responded: “We’ll talk about the slow-down stuff later; I’ve got a

  brake job to do by noon.”

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        24.   On or about March 25, 2016, there began parallel series of

  disciplinary actions against Mr. Brown by management and incidents of

  hostility by Mr. Brown’s white co-workers and managers. It began with Mr.

  Piotraschke, the acting service manager, giving Mr. Brown a written warning,

  the first of four leading up to his May 23 termination:

              a.    Mr. Piotraschke had asked Mr. Brown if he could do a

  front-end alignment on a car prior to the close of business March 24 so that

  the customer could pick it up in the morning. Mr. Brown responded that he

  doubted he could because he was committed to doing several brake jobs,

  which actually took him until 7:15 p.m. to complete. Mr. Piotraschke said

  that would be acceptable, and that he would have the work done by Mr.

  Marinaro, the technician originally assigned to it, when Mr. Marinaro opened

  the store in the morning

              b.    The following morning, when Mr. Brown arrived at 8 a.m.,

  he saw the car sitting outside and witnessed the customer arrive to get it

  about 10 a.m.

              c.    Mr. Piotraschke called Mr. Brown to the service desk that

  afternoon, saying it was important that he speak to him. When Mr. Brown

  arrived, he said if it were important, and did not concern Mr. Cartwright,

  who was standing with Mr. Piotraschke, that Mr. Cartwright should leave.

  Mr. Piotraschke instructed Mr. Cartwright to leave, which Mr. Cartwright

  obeyed, but did so mumbling under his breath.




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              d.    At that point, Mr. Piotraschke told Mr. Brown that he was

  writing Mr. Brown up for insubordination for not having done the wheel

  alignment, telling Mr. Brown that the customer had come to get the car at

  6:30 a.m., which is before the store is open.

              e.    Mr. Brown told Mr. Piotraschke that he was at the store

  when the customer came and picked up the car, but Mr. Piotraschke said

  that did not matter: Mr. Perry had instructed him to write up Mr. Brown.

              f.    Mr. Brown said that he would sign it, but wanted to speak

  with Mr. Tuma, because it did not seem right to Mr. Brown.

              g.    At that point, Mr. Cartwright reapproached, accused Mr.

  Brown (who had been pointing in the general direction of Mr. Cartwright and

  Mr. Butler) of “badmouthing” him, and started screaming random insults as

  he continued to approach, cheered on by another white employee.

              h.    Although Mr. Piotraschke stepped in between Mr. Brown

  and Mr. Cartwright, Mr. Cartwright continued to threaten to “kick [Mr.

  Brown’s] ass” and referred to him as a “fuckin’ nigger,” which prompted

  laughter from nearby white employees.

              i.    Mr. Piotraschke reported the incident to Tuma, casting Mr.

  Brown as the aggressor; nothing adverse happened to Mr. Cartwright.

              j.    Mr. Brown overheard Mr. Piotraschke telling Mr. Cartwright

  a couple of days later, “I gave Curtis his first write-up.”

        25.   Mr. Cartwright told Dan Bonatz, a white employee who started

  work on or about March 31 and whom Mr. Brown was trying to help learn his

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  way about the store, “Don’t trust those two niggers there — that Mexican

  nigger[, referring to Mr. Bautista,] or that little skinny nigger. They’ll stab

  you in the back.”

        26.   In April, according to the white Mr. Brown, who was angry with

  Mr. Cartwright about an unrelated matter, Mr. Cartwright took the black Mr.

  Brown’s $500 handheld diagnostic scanner from his tool box and threw it

  into a trash can when Mr. Brown was not looking; although Mr. Cartwright

  initially denied ever touching the scanner, he then acknowledged that he

  moved the scanner from a work bench to the top of Mr. Brown’s rolling tool

  box; Mr. Duma said that someone, maybe even himself, had probably just

  taken the scanner to use it — even though the store had a $10,000 scanner

  for all of the mechanics to use.

        27.   Within this time frame, Tires Plus’s corporate headquarters was

  put on notice of the racial dysfunction in the Stuart store, exhibited an

  awareness that behavior might violate federal law by sending a woman from

  Human Resources down to investigate it, but exhibited reckless indifference

  to the Stuart situation by not even interviewing Mr. Brown, notwithstanding

  his availability to the Human Resources investigator:

              a.      The situation arose when Mr. Bautista’s girlfriend drove up

  to the store one day and lowered the passenger-side window, through which

  Charles Young, a white tire changer, tossed an unused condom, with a

  vulgar message written on the back of the package:




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               b.   Mr. Bautista confronted Mr. Young, who did not respond

  when asked why he had done that;

               c.   Mr. Brown attempted to support Mr. Bautista against the

  assembled white employees;

               d.   Mr. Bautista, supported by Mr. Brown as his witness, then

  went to Mr. Tuma, who did nothing, so

               e.   Mr. Bautista and his girlfriend escalated their complaint to

  corporate Human Resources, however, and got the attention of Human

  Resources.

               f.   When a black woman from Human Resources visited the

  Stuart store in or about April in response to Mr. Bautista’s complaint, Mr.

  Perry, the district manager:

                    i.     coached Messrs. Butler, Marinaro, and Wainwright

  about what to say to her;

                    ii.    avoided speaking to Mr. Brown prior to her arrival,

  but

                    iii.   inserted himself between Mr. Brown and the woman

  from Human Resources when she approached Mr. Brown, and she permitted

  Mr. Perry to divert the conversation to how long Mr. Perry had known Mr.

  Brown and how Mr. Brown had built an El Camino from spare parts —

  anything to prevent Mr. Brown, the only black employee in the store, from

  having the opportunity to tell the woman from Human Resources what was

  going on.

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           28.   Subsequent to the visit by the woman from Human Resources,

  Mr. Tuma not only gave Mr. Brown a verbal warning for having attempted to

  intervene when the white employees were harassing Mr. Bautista and his

  girlfriend during the condom incident, but told Mr. Brown that he was no

  longer permitted to teach Mr. Bautista anything about automotive mechanics

  and, if Mr. Brown did so, Mr. Tuma would terminate Mr. Brown on the spot.

           29.   When Mr. Brown entered the Stuart store’s toilet stall one day in

  April, he noticed that empty toilet-paper roles with racial slurs written on

  them, including one with a caricature of a black man sitting on a toilet and

  suffering apparent constipation, captioned “Curtis too much fried chicken

  and watermelon,” and another accusing black people of spreading ebola, had

  been lined up atop the handicap railing:

                 a.   Mr. Tuma would necessarily have seen the display because

  he unswervingly used the toilet stall once every morning and once again

  every afternoon before going home.

                 b.   Mr. Brown, who took photographs of the toilet paper rolls,

  went immediately to retrieve Mr. Tuma from his office to take him into the

  stall.

                 c.   Once there, Mr. Brown asked Mr. Tuma,“What the hell is

  this?,” telling Mr. Tuma that someone had now “gone too far,” and inquiring,

  since Mr. Tuma used the toilet stall every morning and every afternoon,

  whether Mr. Tuma had written the slurs himself — or had just seen them

  and laughed at Mr. Brown when he had used the toilet that morning.

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                 d.   As Mr. Brown exited with bathroom with the toilet rolls in

  his hand, two white employees, Messrs. Cartwright and Young, were

  laughing.

                 e.   When Mr. Brown followed Mr. Tuma into his office and

  asked him what he was going to do about it, Mr. Tuma responded,

  “Nothing,” following up with “Do you want me to fire everybody” and adding,

  “I just don’t think you fit in with my guys in my shop, that’s all.”

        30.      In May, Mr. Cartwright, the tire changer who had earlier

  threatened to “kick [Mr. Brown’s] ass” and called him a “fuckin’ nigger,”

  yelled at Mr. Brown, “[w]hy are you staring at me,” even though Mr. Brown

  was not staring at him, and threw Mr. Brown’s wheel hammer into the

  parking lot.

        31.      When Mr. Brown complained to Mr. Tuma about the incident, Mr.

  Tuma said that the white employees were acting childishly, and that he was

  going to schedule a meeting to discuss their behavior — but never did.

        32.      Management in that month stepped up its assault on Mr. Brown,

  with the first incident being a false accusation that Mr. Brown had damaged

  a car on which he had been assigned to work:

                 a.   On May 2, Karla Preissman, a customer who was leaving

  town for two weeks, dropped off a fairly new Lexus for a tune-up and a fuel-

  induction system cleaning.




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              b.    Her leaving town meant that she would not pay her bill

  right away, and that the mechanic doing the work on the car, i.e., Mr.

  Brown, would not be paid until she did.

              c.    After the work was finished, both Mr. Brown and Mr. Tuma

  took the for an elongated series of test drives because neither of them

  initially recalled that the new model Lexus required pushing a reset button

  below the dash to turn off the warning light.

              d.    After the problem was realized and corrected, Mr. Tuma

  dropped Mr. Brown off and parked the car, which was undamaged, in a lot

  where customers’ cars are kept to await pickup.

              e.    When the customer came to collect the car two weeks

  later, the outside rear-view mirror was damaged and two of the car’s oil

  solenoids were damaged.

              f.    Mr. Tuma — who had not mentioned any problem when he

  and Mr. Brown took the Lexus for the three to four test drives — accused Mr.

  Brown May 16, both verbally and in a written warning, of having:

                    i.     broken the outside rear-view mirror;

                    ii.    failed to address a valve train noise, which Mr.

  Brown did not observe to exist, but to correct which issue Mr. Tuma had

  personally changed the oil and oil filter, adding an oil stabilizer that was not

  amongst the brands routinely carried by Tires Plus, which was against Tires

  Plus policy — against which Mr. Brown cautioned Mr. Tuma;




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                    iii.   left “grease all over the foot well,” even though Mr.

  Brown had put paper on the floor and had not gotten any grease on the

  carpet;

                    iv.    gotten “yellow pain on the fender,” although there

  was no such damage when Messrs. Brown and Tuma test-drove it, which

  was the last time Mr. Brown touched the car;

                    v.     “failed to reset the maintenance warnings,” which is

  what Messrs. Brown and Tuma had done during the three to four test drives

  that they took prior to recognizing the reset-button issue;

                    vi.    damaged the car’s oil solenoids, which could only

  have been done by Mr. Tuma himself, since Mr. Brown did nothing

  whatsoever with the car’s oil, and

                    vii.   left excess induction fluid in the intake, which fluid

  would have been dissipated during the three to four test drives on which Mr.

  Brown and Mr. Tuma had taken the car.

              g.    Notwithstanding that Mr. Brown had no responsibility for

  anything that might have been wrong with the Lexus when Ms. Preissman

  came to pick it up, Mr. Tuma withheld Mr. Brown’s commission on the job to

  pay Mr. Butler to repair the oil solenoids that Mr. Tuma had damaged and

  the mirror, and to pay a day’s car-rental for the customer.

              h.    Although Mr. Tuma dated the written warning May 16, he

  did not give it to Mr. Brown until a Saturday, May 21, meeting, at which time




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  he also gave him a May 16 “final” written warning that Mr. Tuma said he

  had been instructed to issue by Mr. Perry.

              i.     The second May 16-dated written warning, involving Work

  Order No. 116891, accused Mr. Brown of having “[done] a brake inspection

  and failed to pump up the pedal prior to backing the vehicle out,” which

  “resulted in a crash with bushes that damaged the vehicle.”

              j.     There actually was no damage to either the van or any

  Tires Plus property because of the incident involving a vehicle that Mr.

  Brown:

                     i.     had described in writing as “unsafe to drive,”

                     ii.    had recommended not be backed out of the garage,

  but

                     iii.   was ordered by Mr. Tuma nonetheless to back it out.

              k.     Mr. Tuma docked Mr. Brown $700 in commissions because

  of the incident.

              l.     Mr. Tuma’s assertion that Mr. Brown had backed the van

  out of the garage without pumping the brakes ignores both:

                     i.     the fact that Mr. Brown told him that he had pumped

  the brakes, and

                     ii.    the reality that the van involved would not allow a

  driver to put it in reverse without stepping on the brakes.

        33.   Mr. Brown’s final day working for Tires Plus, Monday, May 23,

  began with Mr. Marinaro starting an argument by falsely accusing Mr. Brown

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  of breaking a clogged positive crankcase ventilator on a Ford Taurus. A new

  service manager named Ron intervened and ended the argument, but said

  to Mr. Brown: “Why does this store hate you? I’m giving you one more

  chance. I’m going to let you go back to work and see how it works towards

  the end of the day.”

        34.   The next thing that occurred is that Mr. Brown wrote up his

  diagnosis of what needed to be done on a Nissan that had previously been

  worked on by Mr. Butler and needed a tuneup, required the installation of a

  valve cover gasket and needed repair of its lower motor mount:

              a.    Mr. Brown, who was not allowed to do his own diagnoses

  of what needed to be done and to get the customer’s approval to proceed,

  although Mr. Butler was, gave the write-up to Mr. Tuma;

              b.    Mr. Tuma told Mr. Brown to work on another car, for which

  a customer was in waiting in the store for it to be repaired, and took a hour

  to issue a work order on the Nissan, which had been towed in.

              c.    When Mr. Tuma finally issued the work order, he told Mr.

  Brown that he would have to do the job for no commission, since the

  customer had been waiting for an hour — to which Mr. Brown objected,

  because:

                    i.    the delay was Mr. Tuma’s fault and not his, and

                    ii.   no customer was waiting since the car had been

  towed in.




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                d.    Mr. Brown, however, did not say that he would not do the

  job.

          35.   Shortly thereafter, Mr. Tuma told Mr. Brown that he had called

  corporate headquarters, told whomever he spoke to there that Mr. Brown

  was refusing to do a job that was assigned to him, and that, “I like you man,

  but corporate said I got to let you go.”

          36.   At that point, Mr. Brown asked Mr. Tuma why had he requested

  that Mr. Brown be transferred to his store, which is what Mr. Perry had told

  Mr. Brown in January, if Mr. Tuma did not want him there?

          37.   Mr. Tuma responded: “I didn’t ask for you. Dave Perry sent you

  because he figured you wouldn’t show up because of the reputation of the

  shop.    He felt that you’d quit and we wouldn’t have to fire you. Curtis, just

  make it easy on you and me and just quit because this is as easy as it’s

  going to get. Butler and those guys are all young minded.”

          38.   While Mr. Brown had exercised sufficient self-control to not allow

  himself to get into confrontations at work, the situation in Stuart had so

  upset him that he separated from his wife for approximately six weeks in

  April and May because of the anger that he was bringing home every night.

          39.   Mr. Brown had anticipated that the likelihood of his getting fired

  from Tires Plus was an issue of “when” rather than an “if,” but when it

  actually happened it upset him so much that, rather than immediately tell

  his wife about it, he spent the next three nights sleeping in his truck.




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          40.   The actions of Tires Plus, through Mr. Perry and Mr. Duma,

  constituted an interference with Mr. Brown’s right to make and enforce

  contracts based on his race, as that phrase is defined by 42 U.S.C. §

  1981(b).

          41.   As a direct, natural and proximate result of Tires Plus, Mr. Perry

  and Mr. Duma’s actions towards Mr. Brown, Mr. Brown has suffered

  damages, including but not limited to:

                a.    lost earnings;

                b.    diminishment of earning capacity; and

                c.    emotional distress and mental anguish.

          42.   Tires Plus, Mr. Perry and Mr. Duma’s wilful or recklessly

  indifferent disregard of Mr. Brown’s federally protected rights against

  discrimination in the making and enforcement of contracts was such as to

  entitle Mr. Brown to punitive damages against Tires Plus and against Messrs.

  Perry and Duma in their individual capacities, to punish Tires Plus, Mr. Perry

  and Mr. Duma, and to deter them and others like them from such conduct in

  the future.

          43.   If not enjoined by this Court, Tires Plus, Mr. Perry and Mr.

  Duma’s would continue to interfere, based on Mr. Brown’s race, with Mr.

  Brown’s right to make and enforce his contract of employment with Tires

  Plus.




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        44.   Plaintiff is entitled, pursuant to 42 U.S.C. § 1988, to recover his

  costs and litigation expenses, including a reasonable attorney’s fee, for

  bringing this action.

        WHEREFORE, Plaintiff, Curtis Brown, prays that this Court will grant

  judgment for him, and against Defendants, Tires Plus, as well as against

  Messrs. Perry and Duma in their individual capacities:

        One, determining that Tires Plus, Mr. Perry and Mr. Duma have

  interfered, based on Mr. Brown’s race, with Mr. Brown’s right to make and

  enforce contracts, as that right pertains to his employment by Tires Plus;

        Two, enjoining Tires Plus, and Messrs. Perry and Duma, both in their

  individual and corporate capacities, and anyone working in concert with any

  of them, both preliminarily and permanently, from continuing to interfere,

  based on Mr. Brown’s race, with Mr. Brown’s right to make and enforce

  contracts, including through reinstatement, or if reinstatement were not

  reasonable as a make-whole remedy, through an award of front pay;

        Three, awarding damages against Tires Plus, Mr. Perry and Mr. Duma,

  jointly and severally, for lost wages, lost earning capacity, other financial

  damages and emotional distress, and individually against each defendant for

  punitive damages;

        Four, awarding costs, including attorney’s fees and litigation

  expenses, against Tires Plus, Mr. Perry and Mr. Duma, jointly and severally;

  and

        Five, granting such other and further relief as is just.

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                   Count II: Claim Under 42 U.S.C. § 1981 for
                    Hostile Environment Race Discrimination

        45.   Plaintiff, Curtis Brown, realleges and adopts, as if fully set forth

  in Count II, the allegations of ¶¶ 1-34 and 37-39.

        46.   The behavior outlined in ¶¶ 15-33 and 37-38 were sufficiently

  serious or pervasive as to alter the terms and conditions of Mr. Brown’s

  conditions of employment and create an abusive working environment.

        47.   By engaging in the behavior alleged in ¶¶ 15(a)-(c) and (f),

  16(a)-(c), 17(f)-(i), 18(a)-(d), 20, 21(b)-(e), 22(n), 23(c), 24(a)-(f) and (i)-

  (j), 27(d) and (f), 28, 29 (e), 31, 32(a)-(i) and 37, and permitting others to

  engage in the behavior alleged in ¶¶ 15(a) and (d), 22(a)-(m), 23(a)-(b),

  24(g)-(h), 25, 26, 27(a)-(d), 29(a)-(d), 30, Tires Plus and Messrs. Perry and

  Tuma interfered, and permitted their subordinates to interfere, based on Mr.

  Brown's race, with Mr. Brown's right to make and enforce contracts, as that

  phrase is defined by 42 U.S.C. § 1981(b), by subjecting him, and permitting

  others to subject him, to a racially hostile environment.

        48.   As a direct, natural and proximate result of Tires Plus, Mr. Perry

  and Mr. Duma’s actions towards Mr. Brown, Mr. Brown has suffered

  damages, including but not limited to:

              a.     emotional distress and mental anguish;

              b.     lost commissions that were wrongfully docked;

              c.     additional travel time and expense to commute to Stuart,




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              d.    the cost of his rent for the period that he was separated

  from his wife because of anger issues caused by the harassment, and

              e.    the replacement cost of his stolen scanner.

        49.   Tires Plus, Mr. Perry and Mr. Duma’s wilful or recklessly

  indifferent disregard of Mr. Brown’s federally protected rights against

  discrimination in the making and enforcement of contracts was such as to

  entitle Mr. Brown to punitive damages against Tires Plus and against Messrs.

  Perry and Duma in their individual capacities, to punish Tires Plus, Mr. Perry

  and Mr. Duma, and to deter them and others like them from such conduct

  in the future.

        50.   If not enjoined by this Court, Tires Plus, Mr. Perry and Mr. Duma

  would continue to interfere, based on Mr. Brown’s race, with Mr. Brown’s

  right to make and enforce contracts by subjecting him, and permitting

  others to subject him, to a racially hostile environment.

        51.   Plaintiff is entitled, pursuant to 42 U.S.C. § 1988, to recover his

  costs and litigations expenses, including a reasonable attorney’s fee, for

  bringing this action.

        WHEREFORE, Plaintiff, Curtis Brown, prays that this Court will grant

  judgment for him, and against Defendants, Tires Plus, Mr. Perry and Mr.

  Duma:

        One, determining Tires Plus, Mr. Perry and Mr. Duma interfered, based

  on Mr. Brown’s race, beginning in 2014 and continuing through May 23,

  2016, with Mr. Brown’s right to make and enforce contracts by subjecting

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  him to a racially hostile environment, and knowingly encouraging or allowing

  others to do so;

        Two, enjoining Tires Plus, Mr. Perry and Mr. Duma from continuing to

  interfere, based on Mr. Brown’s race, with Mr. Brown’s right to make and

  enforce contracts by subjecting him to a racially hostile environment, or

  knowingly encouraging or allowing others to do so;

        Three, awarding damages against Tires Plus, Mr. Perry and Mr.

  Duma’s, jointly and severally, and individually against each defendant for

  punitive damages;

        Four, awarding costs, including attorney’s fees and litigation

  expenses, against Tires Plus, Mr. Perry and Mr. Duma, jointly and severally;

  and

        Five, granting such other and further relief as is just.

          Count III: Claim Under 42 U.S.C. § 1981 for Retaliation

        52.   Plaintiff, Curtis Brown, realleges and adopts, as if fully set forth

  in Count III, the allegations of ¶¶ 1-10, 15, 17, 20, 21, 22, 23(a)-(b), 24(a)-

  (f) and (j) and 26-37.

        53.   Mr. Brown’s complained to management, i.e., to Messrs. Elder,

  Perry and Tuma, consistent with Tire Plus’s policy about following the chain

  of command, about having his federally protected rights to make and

  enforce contracts, as defined by 42 U.S.C. § 1981(b), interfered with

  because of his race, as more particularly alleged in ¶¶ 15(c) and (f), 17(g)




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  and (h), 21(d), 22(m), 23(b), 24(e) and (f), 26, 27(d), 29, 30, 31, 34(c)

  and 36.

        54.   Mr. Brown would specify when he complained about the various

  matters that he was doing so because he felt the actions against him were

  racially motivated; his managers would respond by accusing him of “playing

  the race card.”

        55.   Subsequent to, and because of those complaints, Tires Plus,

  through Messrs. Perry and Tuma, took a series of adverse actions against

  him, which adverse actions would be sufficient to cause an ordinarily

  reasonable employee not to complain about interference with his rights to

  make and enforce contracts, as defined by 42 U.S.C. § 1981(b), as more

  particularly alleged in ¶¶ 17(g)-(i), 18, 20, 21, 24(e), 28, 32(g) and (k), 35

  and 37.

        56.   If not enjoined by this Court, Tires Plus, Mr. Perry and Mr. Duma

  would continue to retaliate against Mr. Brown, based on my Brown’s having

  complained about their interference, based on Mr. Brown’s race, with Mr.

  Brown’s right to make and enforce contracts by subjecting him to tangible

  job detriments and subjecting him, and permitting others to subject him, to

  a racially hostile environment.

        57.   Plaintiff is entitled, pursuant to 42 U.S.C. § 1988, to recover his

  costs and litigations expenses, including a reasonable attorney’s fee, for

  bringing this action.




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        WHEREFORE, Plaintiff, Curtis Brown, prays that this Court will grant

  judgment for him, and against Defendants, Tires Plus, Mr. Perry and Mr.

  Duma:

        One, determining that Tires Plus, Mr. Perry and Mr. Duma retaliated

  against Mr. Brown, based on Mr. Brown’s having complained about their

  interference, based on Mr. Brown’s race, with Mr. Brown’s right to make and

  enforce contracts by subjecting him to tangible job detriments and

  subjecting him, and permitting others to subject him, to a racially hostile

  environment;

        Two, enjoining Tires Plus, and Messrs. Perry and Duma, both in their

  individual and corporate capacities, and anyone working in concert with Mr.

  any of them, both preliminarily and permanently, from continuing to

  retaliate against Mr. Brown

        Three, enjoin Tires Plus to make Mr. Brown whole, including through

  reinstatement, or if reinstatement were not reasonable as a make-whole

  remedy, through an award of front pay;

        Four, awarding damages against Tires Plus, Mr. Perry and Mr. Duma,

  jointly and severally, for lost wages, lost earning capacity and emotional

  distress, and individually against each defendant for punitive damages;

        Five, awarding costs, including attorney’s fees and litigation expenses,

  against Tires Plus, Mr. Perry and Mr. Duma, jointly and severally; and

        Six, granting such other and further relief as is just.

                             Demand for Jury Trial

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        Plaintiff demands jury trial by jury on all issues so triable.

                                       Respectfully Submitted,

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